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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,                             CRIMINAL NO. 12-192 (CCC)
       v.
JULIA GOMEZ-CALCANO [3],
       Defendant.


              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                   RE: RULE 11(c)(1)(B) GUILTY PLEA HEARING

I.     Procedural Background
       On September 27, 2012, defendant Julia Gomez-Calcano was charged in a multi-count
superseding indictment. She agrees to plead guilty to Counts One and Two.
       Count One charges that from September 2010 to November 2011, Ms. Gomez, and others,
did knowingly conspire and agree to commit money laundering offenses against the United States,
as further described in the superseding indictment, in violation of Title 18, United States Code,
Sections 1956 and 1957. Count Two charges that from about February 18 to March 9, 2012,
defendant, and another, aiding and abetting each other, attempted to and did knowingly corruptly
persuade, and engage in misleading conduct toward another, with the intent to hinder, delay, and
prevent the communication to a law enforcement officer of information relating to the commission
or possible commission of a federal offense, all in violation of 18 United States Code, Sections 2 and
1512(b)(3).
       Defendant appeared before me, assisted by the court interpreter, on July 22, 2013, since the
Rule 11 hearing was referred by the court. See United States v. Woodard, 387 F.3d 1329 (11th Cir.
2004) (magistrate judge had authority to conduct Rule 11 guilty plea hearing with consent of
defendant). She was advised of the purpose of the hearing and placed under oath with instructions
that her answers must be truthful lest she would subject herself to possible charges of perjury or
making a false statement.
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II.     Consent to Proceed Before a Magistrate Judge
        Defendant was provided with a Waiver of Right to Trial by Jury form, which she signed. 1
She acknowledged that her attorney explained and translated the form before she signed it. She was
advised of her right to hold all proceedings, including the change of plea hearing, before a district
court judge. She received an explanation of the differences between the scope of jurisdiction and
functions of a district judge and a magistrate judge. She was informed that if she elects to proceed
before a magistrate judge, then the magistrate judge will conduct the hearing and prepare a report
and recommendation, subject to review and approval of the district judge. The defendant then
voluntarily consented to proceed before a magistrate judge.
III.    Proceedings Under Rule 11 of the Federal Rules of Criminal Procedure
        Rule 11 of the Federal Rules of Criminal Procedure governs the acceptance of guilty pleas
to federal criminal violations. Pursuant to Rule 11, in order for a plea of guilty to constitute a valid
waiver of the defendant’s right to trial, the guilty plea must be knowing and voluntary. United States
v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999). “Rule 11 was intended to ensure that a defendant
who pleads guilty does so with an ‘understanding of the nature of the charge and consequences of
his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United
States, 394 U.S. 459, 467 (1969)). There are three core concerns in a Rule 11 proceeding: 1) absence
of coercion; 2) understanding of the charges; and 3) knowledge of the consequences of the guilty
plea. Cotal-Crespo, 47 F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244 (1st Cir. 1991)).
        A.      Competence to Enter a Guilty Plea
        This magistrate judge questioned the defendant about her age, education, employment,
history of any treatment for mental illness or addiction, use of any medication, drugs, or alcohol, and
her understanding of the purpose of the hearing, all in order to ascertain her capacity to understand,
answer and comprehend the change of plea colloquy. The court confirmed that the defendant

        1
          The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for
Pleading Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is
made part of the record.
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received the indictment and fully discussed the charge with her attorney, and was satisfied with the
advice and representation she received. The court further inquired whether defendant’s counsel or
counsel for the government had any doubt as to her capacity to plead, receiving answers from both
that the defendant was competent to enter a plea. After considering the defendant’s responses, and
observing her demeanor, a finding was made that Ms. Gomez was competent to plead and fully
aware of the purpose of the hearing.
       B.      Maximum Penalties
       Upon questioning, the defendant expressed her understanding of the maximum penalties
prescribed by statutes for the offenses to which she was pleading guilty, namely: As to Count One,
a term of imprisonment of not more than twenty years, a fine of not more than $500,000, or twice
the amount of the transaction involved, whichever is greater, and a supervised release term of not
more than three years. As to Count Two, a term of imprisonment of not more than twenty years, a
fine of not more than $250,000, and a supervised release term of not more than three years. The
defendant also understood that a Special Monetary Assessment of $100.00, per count, would be
imposed, to be deposited in the Crime Victim Fund, pursuant to Title 18, United States Code,
§3013(a). The court explained the nature of supervised release and the consequences of revocation.
The defendant will also be subject to an order of forfeiture. The defendant indicated that she
understood the maximum penalties.
       C.      Plea Agreement
       Ms. Gomez was shown her plea agreement and the supplement thereto (together, “Plea
Agreement”), which are part of the record, and identified her initials on each page and her signature
on the document. She confirmed that she had the opportunity to read and discuss the Plea Agreement
with her attorney before she signed it, that her attorney explained and translated the Plea Agreement
before she signed it, that it represented the entirety of her understanding with the government, that
she understood its terms, and that no one had made any other or different promises or assurances to
induce her to plead guilty. The defendant was then admonished, pursuant to Fed. R. Crim. P.
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11(c)(1)(B), and expressed her understanding, that the terms of the plea agreement are merely
recommendations to the court, and that the district judge who will preside over the sentencing
hearing can reject the recommendation without permitting the defendant withdraw her guilty plea,
and impose a sentence that is more severe than the defendant might anticipate.
        The parties’ sentencing calculations and recommendations in the plea agreement, and were
explained in open court. The defendant confirmed that the plea agreement contains the sentencing
recommendations she agreed to with the government.
        The defendant was specifically informed that any sentencing calculations contained in the
plea agreement were not binding for the sentencing court, but were only estimates of possible terms
of her sentence, and that the court, after considering the applicable Sentencing Guidelines, could
impose a sentence different from any estimate in the plea agreement or provided by her attorney, and
that the court had authority to impose a sentence that is more severe or less severe than the sentence
called for by the Sentencing Guidelines. The defendant was advised, and understood, that the
Sentencing Guidelines are no longer mandatory and are thus considered advisory, and that during
sentencing the court will consider the sentencing criteria found at 18, United States Code, Section
3553(a).
        The defendant was advised that under some circumstances she or the government may have
the right to appeal the sentence the court imposes. The defendant was further informed, and
professed to understand, that the plea agreement contains a waiver of appeal provision under which
the defendant agreed to waive her right to appeal the judgement and sentence, if the court accepts
the plea agreement and sentences as recommended.
        D.      Waiver of Constitutional Rights
        The defendant was specifically advised that she has the right to persist in a plea of not guilty,
and if she does so persist that she has the right to a speedy and public trial by jury, or before a judge
sitting without a jury if the court and the government so agree; that at trial she would be presumed
innocent and the government would have to prove her guilt beyond a reasonable doubt; that she
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would have the right to assistance of counsel for her defense, and if she could not afford an attorney
the court would appoint one to represent her throughout all stages of the proceedings; that at trial
she would have the right to hear and cross examine the government’s witnesses, the right to decline
to testify unless she voluntarily elected to do so, and the right to the issuance of subpoenas or
compulsory process to compel the attendance of witnesses to testify on her behalf. She was further
informed that if she decided not to testify or put on evidence at trial, her failure to do so could not
be used against her, and that at trial the jury must return a unanimous verdict before she could be
found guilty. The defendant specifically acknowledged understanding these rights, and
understanding that by entering a plea of guilty there would be no trial and she will be waiving or
giving up the rights that the court explained.
       The defendant was informed that parole has been abolished and that any sentence of
imprisonment must be served. Defendant was additionally informed that a pre-sentence report would
be prepared and considered by the district judge at sentencing. The defendant was further informed
that her guilty plea may result in the loss of valuable civil rights. The defendant confirmed that she
understood these consequences of her guilty plea.
       E.        Factual Basis for the Guilty Plea
       Defendant was read in open court Counts One and Two of the superseding indictment and
provided an explanation of the elements of the offenses. The meaning of terms used in the indictment
was explained.
       Upon questioning, the government presented to this magistrate judge and to defendant a
summary of the basis in fact for the offenses and the evidence the government had available to
establish, in the event defendant elected to go to trial, the defendant’s guilt beyond a reasonable
doubt. The defendant was able to understand this explanation and admitted to the factual elements
of the the offenses.
       F.        Voluntariness
       The defendant indicated that she was not being induced to plead guilty, but was entering such
a plea freely and voluntarily because in fact she is guilty, and that no one had threatened her or
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offered a thing of value in exchange for her plea. She acknowledged that no one had made any
different or other promises in exchange for her guilty plea, other than the recommendations set forth
in the plea agreement. Throughout the hearing the defendant was able to consult with her attorney.
IV.    Conclusion
       The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, and entered a plea of guilty as to Counts One and Two of the superseding
indictment.
       After cautioning and examining the defendant under oath and in open court concerning each
of the subject matters mentioned in Rule 11, I find that the defendant, Julia Gomez-Calcano, is
competent to enter this guilty plea, is aware of the nature of the offense charged and the maximum
statutory penalties that it carries, understands that the charge is supported by evidence and a basis
in fact, has admitted to the elements of the offense, and has done so in an intelligent and voluntary
manner with full knowledge of the consequences of her guilty plea. Therefore, I recommend that
the court accept the guilty plea and that the defendant be adjudged guilty as to Counts One and Two
of the superseding indictment.
       This report and recommendation is filed pursuant to 28 U.S.C. §636(b)(1)(B) and Rule 72(d)
of the Local Rules of this Court. Any objections to the same must be specific and must be filed with
the Clerk of Court within fourteen (14) days of its receipt.     Failure to file timely and specific
objections to the report and recommendation is a waiver of the right to review by the district court.
United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
       A sentencing hearing has been set for October 24, 2013 at 4:30 p.m. before District
Judge Carmen Cerezo.
       IT IS SO RECOMMENDED.
       San Juan, Puerto Rico, this 22nd day of July, 2013.


                                              S/Bruce J. McGiverin
                                              BRUCE J. McGIVERIN
                                              United States Magistrate Judge
